                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
         Plaintiff,                           )
                                              )
 v.                                           )   NO. 2:19-cr-00013
                                              )
 GEORGIANNA A.M. GIAMPIETRO,                  )
                                              )
         Defendant.                           )


                                         ORDER

        The Government’s Unopposed Motion to Vacate April 3, 2020 Status Conference Or, In

the Alternative, to Conduct Status Conference by Telephone (Doc. No. 97) is GRANTED and the

status conference set for April 3, 2020, is CANCELLED.

        IT IS SO ORDERED.


                                          ____________________________________
                                          WAVERLY D. CRENSHAW, JR.
                                          CHIEF UNITED STATES DISTRICT JUDGE




      Case 2:19-cr-00013 Document 98 Filed 04/01/20 Page 1 of 1 PageID #: 626
